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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                      District
                                                __________     of Columbia
                                                            District of __________


                     Hazim Nada, et al.,                        )
                             Plaintiff                          )
                                v.                              )      Case No.    1:24-cv-00206-ABJ
                United Arab Emirates, et al.,                   )
                            Defendant                           )

                                                 APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Lorenzo Vidino                                                                                                .


Date:          07/08/2024                                                               /s Nathaniel J. Tisa
                                                                                         Attorney’s signature


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